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 1   KEITH D. GOODWIN
     DEFENDANT IN PRO PER
 2   P.O. BOX 872
     FRESNO, CA 93712
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 8                               UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA-FRESNO
10

11   UNITED STATES OF AMERICA,                        )   Case Number 1:06-CR-299 AWI
                                                      )
12                          Plaintiff,                )   FIRST AMENDED STIPULATION AND
                                                      )   ORDER TO CONTINUE SENTENCING
13   v.                                               )   HEARING
                                                      )
14   KEITH DAVID GOODWIN, and Does 1                  )
     through 25, inclusive,                           )
15                                                    )
                            Defendants.               )
16                                                    )
                                                      )
17
                    IT IS HEREBY STIPULATED by and between the parties herein that the
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     sentencing hearing presently set for May 19, 2008 at 9:00 a.m. can be continued to August 18,
19
     2008, at 9:00 a.m. for good cause. Good cause is stipulated to in that the defendant needs to
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     subpoena documents regarding his criminal history for use at the time of his sentencing hearing,
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     and there is a need to request additional transcripts of witness testimony during trial for use at the
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     sentencing hearing.
23

24
     Dated: May 9, 2008.                            /s/ Gary Huss
25                                                  Gary Huss, Advisory Counsel for
                                                    Keith Goodwin
26

27   Dated: May 8, 2008.                            /s/ Stan Boone
                                                    Stan Boone, Assistant U.S. Attorney
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     FIRST AMENDED STIPULATION AND ORDER TO CONTINUE SENTENCING HEARING
      Case 1:06-cr-00299-LJO Document 243 Filed 05/12/08 Page 2 of 2

 1   Dated: May 9, 2008.                        /s/ Keith Goodwin
                                                Keith Goodwin, In Pro Per
 2                                              Defendant

 3

 4                                       ORDER

 5                  GOOD CAUSE appearing and upon stipulation of the parties and their counsel,

 6   the sentencing hearing of the defendant, KEITH GOODWIN is continued to August 18, 2008, at

 7   9:00 a.m.

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 9   IT IS SO ORDERED.

10   Dated:      May 12, 2008                        /s/ Anthony W. Ishii
     0m8i78                                    UNITED STATES DISTRICT JUDGE
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     FIRST AMENDED STIPULATION AND ORDER TO CONTINUE SENTENCING HEARING
